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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT CINCINNATI

BAOYANG CHEN,                                   :       Case No. 1:17-cv-460
                      Plaintiff;                :
                                                :       Judge Michael R. Barrett
v.                                              :
                                                :       PLAINTIFF BAOYANG CHEN’S
GSC OPPORTUNITIES, L.P., et al.                 :       RESPONSE TO GOLD STAR
     Defendants.                                :       CHILI, INC.’S MOTION TO
                                                :       DISMISS


       Defendant Gold Star Chili, Inc. (“Gold Star”) filed a Motion to Dismiss (“Motion”) (Doc.

114) arguing that Plaintiff Baoyang Chen (“Plaintiff”) failed to state claims against Gold Star in

his Second Amended Complaint (“SAC”) (Doc. 110). Gold Star’s Motion, however, minimizes,

obfuscates, and completely ignores allegations in the SAC to try and build a narrative Gold Star

believes will win the day. Like a magician relying on misdirection, Gold Star’s Motion is

nothing more than an attempt to distract the Court from the well-pleaded SAC. This Court

should resist any temptation to follow Gold Star’s incorrect and self-serving narrative, and

should instead focus on the SAC, which states valid and claims against Gold Star.

       Gold Star, for example, argues in its Motion that the SAC never alleged that “Gold Star

ever executed the Partnership Agreement” for GSC Opportunities, L.P. (“GSC”), a limited

partnership Plaintiff invested in. (Mot. at 6, PageID 1731.) The SAC, however, did include this

allegation. (SAC at ¶ 114, PageID 1565.) Gold Star further argues that Plaintiff and Gold Star

were never partners (Mot. at 9, PageID 1734), despite the fact that the SAC alleges that Gold

Star repeatedly represented it was GSC’s general partner (e.g., SAC at ¶¶ 75-77, PageID 1559-

60), and that Gold Star so controlled GSC’s nominal general partner, GSC Opp Management,

L.P. (“GSC OPP”), that GSC OPP “had no separate mind, will, or existence of its own” (SAC at
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¶ 11, PageID 1549-50). As is demonstrated repeatedly infra, Gold Star is simply wrong about

what the SAC does and does not say, and Gold Star’s Motion should be denied.

I.     FACTUAL BACKGROUND

       In 2013, Gold Star agreed to collaborate with Gary Chan, Terry Chan, and Jacquelyn

Chan (collectively, “the Chans”) on an EB-5 investment project designed to develop Gold Star

Chili restaurants. (E.g., SAC at ¶ 19, PageID 1551.) GSC was the brainchild of Gold Star, Gold

Star’s board, Gold Star’s Chief Executive Officer, Mike Rohrkemper (“Rohrkemper”), and Mike

Mason (“Mason”), Gold Star’s Vice President of Operations and Franchise Development. (Id. at

¶ 26, PageID 1552.)

       On April 20, 2013, Gold Star executed a Memorandum of Understanding

(“Memorandum”) with Mason Hill, LLC (“Mason Hill”), an entity controlled by the Chans,

identifying projects terms and saying:

               • GSC would be capitalized with $9,000,000, $3,000,000 of which
               was supposed to be provided by “Gold Star, or a wholly owned
               subsidiary.” The remaining $6,000,000 was to be provided by “12
               EB-5 immigrant limited partner investors”;

               • “[T]he ownership [of GSC] will be split between the EB-5
               Investors and Gold Star on a 2:1 ratio,” and Gold Star would
               therefore own “33.3% of [GSC]”;

               • “Gold Star, or its wholly owned subsidiary, and Mason Hill will
               form a limited liability company to be the General Partner of
               [GSC]”;

               • “Gold Star will be the Managing Member of the General Partner
               [of GSC] and own 97% of the membership interests” [of the
               general partner];

               • Gold Star would review and approve GSC’s private placement
               memorandum, the Operating Agreement for GSC’s general
               partner, GSC’s subscription agreement, and other documents
               “necessary to take [GSC] to potential EB-5 Investors”;




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               • Gold Star agreed to “manage and operate [GSC],” to provide
               information that would be included in materials provided to
               potential investors, and to help ensure that GSC met all EB-5
               requirements; and,

               • “As managing member of [GSC’s] General Partner,” Gold Star
               expected to receive “$15,000 per franchise restaurant location per
               year … to pay for various administrative, accounting and
               compliance costs related” to the operation of GSC.

(Id. at ¶ 32, PageID 1553.) Gold Star further represented that it would contribute the “Gold Star

Capitalization” to GSC, a term defined in the Memorandum as the $3,000,000 contribution

above, and that it would “[m]anage and operate” GSC’s general partner. (Id. at ¶¶ 33-34.)

       After this Memorandum was signed, Gold Star, Rohrkemper, Mason, and the Chans

continued working together to finalize GSC’s organizational structure and key documents. (Id.

at ¶ 36.) In fact, “most of the entity formation” for this project was done by Gold Star and its

legal counsel. (Id. at ¶ 29, PageID 1552.)

       On or before May 7, 2013, Gold Star, Rohrkemper, Mason, and the Chans finalized

GSC’s management and operational structure, and created GSC OPP to serve as GSC’s general

partner. (Id. at ¶ 38, PageID 1554.) While Gold Star formally owned 97% of GSC OPP through

GSC EB5 Investor, LLC (“GSC EB5”), Gold Star’s wholly-owned subsidiary, it in practice

dominated both GSC OPP and GSC EB5 during key time periods (Id. at ¶ 39-40.) Indeed, Gold

Star represented that it via GSC EB5 “will be the General Partner” of GSC “with total control of

the project.” (Id. at ¶ 41.) Gold Star’s attorney also said in an email that Gold Star was “in

control” of GSC OPP. (Id. at ¶ 42, PageID 1555.) And Rohrkemper represented that Gold Star

was “the one in control” of GSC OPP, that he and Gold Star’s board made decisions for GSC

OPP, and that Gold Star controlled the funds of GSC OPP and GSC. (Id. at ¶ 43.) Gold Star’s

own materials referred to the entire project as a “Gold Star Chili, Inc. and Eb-5 Investor Joint




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Venture,” and noted that “GSC, Inc.,” shorthand for Gold Star, would be at the top of the

management pedigree. (Id. at ¶ 44.)

       Gold Star’s control of GSC OPP was again confirmed in GSC OPP’s Operating

Agreement, which starts by saying that Mason Hill “and Gold Star Chili, Inc. . . . have developed

a Business Plan for the opening and development of” Gold Star restaurants. (Id. at ¶ 46, PageID

1556.) It also identified Rohrkemper as GSC OPP’s president and registered agent, and Mason

as GSC OPP’s Vice President. (Id. at ¶ 47.) As the one in control of GSC OPP, Gold Star had

“full and complete authority, power and discretion to manage and control the business, affairs,

and properties of GSC OPP.” (Id. at ¶ 50.)

       Gold Star even formally delegated some of GSC OPP’s duties to itself when it executed

an Operation Management Agreement with itself. (Id. at ¶ 51.) Under this agreement, Gold Star

had to provide “services related to the management and operations of certain matters involving

the administrative, accounting and compliance and operations” of the restaurants owned by GSC

OPP. (Id. at ¶ 53.) This included Gold Star’s responsibility to “[p]rovide executive level and

strategic oversight for GSC [OPP] as a whole.” (Id.) This formal designation represented some

of the control Gold Star had over GSC and GSC OPP during relevant times.

       Gold Star also helped prepare, review, and approve documents related to GSC that were

provided to Plaintiff and other investors, including GSC’s business plan, promotional booklet,

and private placement memorandum. (E.g., id. at ¶¶ 58, 68, PageID 1557, 1558.) The business

plan explained that, among other things, GSC would be financed with a $3,000,000 investment

from Gold Star and that a draw process would be established to ensure funds were used

correctly. (Id. at ¶ 73, PageID 1559.) The business plan touted Gold Star’s integral involvement

in the project, explaining that “[GSC OPP] will serve as the General Partner of [GSC,] and Gold




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Star Chili, Inc. will be the managing member of GSC OPP.” (Id. at ¶ 75, PageID 1559-60.) The

business plan repeated that Gold Star would be the managing member of GSC OPP and manage

GSC, and represented that Gold Star “will oversee and control the disbursement” of GSC’s

funds. (Id. at ¶¶ 76-77, PageID 1560.) Rohrkemper, Mason, and a third Gold Star employee

were also identified as part of GSC’s “Operational Management Team.” (Id. at ¶ 79.)

       Gold Star, Rohrkemper, and Mason were also involved in creating, reviewing, editing,

and approving GSC’s Agreement of Limited Partnership (“Partnership Agreement”). (Id. at ¶

81, PageID 1561.) This Partnership Agreement defined GSC’s purpose, and confirmed that GSC

OPP, which Gold Star controlled at this time, would act as GSC’s general partner. (E.g., id. at ¶¶

88-89, PageID 1561-62.) GSC OPP was required to, among other things, care for the funds of

GSC and its limited partners. (Id. at ¶ 90, PageID 1562.) The Partnership Agreement also

defined when GSC should be liquidated, which included if an event occurred that made it

impossible or impractical to construct and operate Gold Star Chili restaurants. (Id. at ¶ 94,

PageID 1563.) The Partnership Agreement also confirmed that Gold Star was supposed to invest

$3,000,000 into GSC, explained that GSC would be funded with $9,000,000 total, and

represented that 12 total EB-5 investors would invest. (Id. at ¶¶ 100-105, PageID 1563-64.)

       Plaintiff signed the Partnership Agreement on April 20, 2013 (id. at ¶ 106, PageID 1564),

and Rohrkemper executed the agreement on May 7, 2013 (id. at ¶ 114, PageID 1565). Plaintiff

subsequently invested $500,000 in GSC, which was deposited into an escrow account at U.S.

Bank. (E.g., id. at ¶ 161, PageID 1571.) Plaintiff did not know at that time, however, that the

documents he received were false, and that GSC would contain less investors, have less funding,

and would be smaller than represented to him. (See id. at ¶¶ 108-124, PageID 1564-66.)

       GSC initially had success developing two restaurants. (Id. at ¶¶ 126-127, PageID 1566-




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67.) These restaurants were considered Gold Star “company stores,” meaning Gold Star had

total control over both. (Id. at ¶ 130, PageID 1567.) Gold Star even considered the costs that it

had expended to open these stores to be part of its contribution to GSC. (Id. at ¶ 131.) In 2015,

however, tensions between Gold Star and Mason Hill arose, and on August 31, 2015, Gold Star

sent a “Notice of Termination of Partnership EB5” letter to Mason Hill, Gary Chan, and Terry

Chan by email. (Id. at ¶ 136, PageID 1568.) Gold Star explained in this letter that it wanted to

terminate GSC because it was “practically impossible” to find additional locations for Gold Star

Chili restaurants. (Id. at ¶ 137.) Despite it being impossible to carry out GSC’s stated purpose,

however, Gold Star did not liquidate or dissolve GSC, and instead began negotiating with the

Chans to withdraw from the project. (Id. at ¶¶ 138-142.) When Gold Star eventually withdrew,

it took both restaurants it had opened for GSC with it and did not compensate Plaintiff or GSC

for these restaurants, leaving GSC with nothing. (Id. at ¶ 143.)

       Rohrkemper left Gold Star in 2015 (id. at ¶ 133, PageID 1567), and his departure created

a significant problem. When Rohrkemper was at Gold Star, Gold Star had significant internal

control over GSC’s funds and Rohrkemper himself monitored investor escrow accounts to make

sure “that money was still in escrow.” (E.g., id. at ¶ 157, PageID 1570.) This was needed

because Gold Star had given Gary Chan unfettered access to Plaintiff’s funds. (Id. at ¶ 155,

PageID 1571.) Once Rohrkemper left Gold Star, however, Gold Star’s oversight of these funds

stopped and the safeguard against theft was removed. (Id. at ¶¶ 156-57.) In August 2016, Gary

Chan used the access Gold Star provided to him, and Gold Star’s lack of oversight, to remove all

of Plaintiff’s funds from an escrow account and to begin using these funds for inappropriate

purposes. (Id. at ¶¶ 152-163, PageID 1570-71.) Gold Star, which still acted as GSC’s general

partner at that time, did nothing to guard Plaintiff’s funds and, as a result, the Chans stole all of




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Plaintiff’s investment. (Id. at ¶¶ 158-160, PageID 1571.)

       As a result of Gold Star’s wrongful conduct, Plaintiff filed the SAC against Gold Star and

others on March 26, 2020. (Doc. 110.) Plaintiff brings claims against Gold Star for federal

securities law violations (Count VI), fraud (Count VII), breach of contract (Count VIII), breach

of fiduciary duty (Count IX), gross negligence (Count X), breach of R.C. § 1782.242 (Count

XII), Ohio securities law violations (Count XIV), and conspiracy (XV). On May 21, 2020, Gold

Star filed the Motion seeking to dismiss each of these claims. (Doc. 114.)

II.    ARGUMENT

       Plaintiff’s SAC must allege “sufficient factual matter, accepted as true, to state a claim to

relief that is plausible on its face” to survive a motion to dismiss. Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009).    In making this plausibility determination, this Court must “construe the

complaint in the light most favorable to the plaintiff.” Inge v. Rock Fin. Corp., 281 F.3d 513,

619 (6th Cir. 2002). Plaintiff’s SAC should not be dismissed because it contains specific and

detailed factual allegations demonstrating, among other things, that Gold Star breached fiduciary

duties, committed fraud, was grossly negligent, and caused Plaintiff harm.

       A.      Gold Star Cannot Hide Behind Subsidiaries to Avoid Liability Because it has
               Not Challenged Plaintiff’s Piercing the Corporate Veil Allegations.

       Gold Star’s first argument—that counts eight, nine, ten, and twelve should be dismissed

because Gold Star “was not a partner of the plaintiff” (Motion at 5, PageID 1730)—should be

rejected because it ignores Plaintiff’s piercing the corporate veil allegations.       Gold Star’s

argument is premised on its theory that GSC OPP and/or GSC EB5, and not Gold Star, owed

duties to Plaintiff because those entities, and not Gold Star, signed certain documents. (See Mot.

at 5-8, PageID 1730-33.) This entire argument ignores that Plaintiff alleged that GSC OPP and

GSC EB5’s corporate veils should be pierced to hold Gold Star liable for the actions and inaction



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of GSC OPP and GSC EB5. (SAC at 60, PageID 1606.) These allegations, which Gold Star

does not challenge, must be accepted as true at this stage.1

         Nor could Gold Star argue that Plaintiff’s piercing the corporate veil allegations are

inadequate.     Under Ohio law, the corporate form can be disregarded when: (1) the entity

controlled by others has no separate mind, will, or existence of its own; (2) those controlling the

entity used it to commit fraud or an illegal act against the plaintiff; and, (3) injury or unjust loss

resulted. See Belvedere Condominium Unit Owners’ Ass’n v. R.E. Roark Cos., 67 Ohio St. 3d

274, 289 (Ohio 1993). Plaintiff alleges that Gold Star committed fraud and other illegal acts and

that he was harmed, so the only factor the could be possibly debated is the first one—control.

When determining if an entity was controlled by others, courts looks to non-exhaustive factors

including: (1) whether the subservient entity was inadequately capitalized; (2) whether the

subservient entity was insolvent; (3) whether shareholders held themselves out as personally

liable for subservient entity obligations; (4) the diversion of funds or other property of the

subservient entity for use by those controlling that entity; and, (5) the fact that the subservient

entity was a mere façade. Taylor Steel, Inc. v. Keeton, 417 F.3d 598, 605 (6th Cir. 2005).

         Plaintiff’s SAC alleges GSC was inadequately capitalized and insolvent because Gold

Star did not contribute $3,000,000 to GSC as promised. (E.g., SAC at ¶ 60, PageID 1557.)

Further, as is explained infra, Gold Star repeatedly held itself out as the one responsible for GSC

OPP’s obligations, including its obligations to manage GSC. Likewise, Gold Star diverted

GSC’s property to itself for its own purposes when it took GSC’s restaurants when it left GSC.

(Id. at ¶ 143, PageID 1568.) And the SAC repeatedly demonstrates that GSC OPP and GSC EB5

were mere façades of Gold Star as (among other things) Gold Star’s own CEO testified that Gold

1
 This Court has repeatedly held that is premature to rule on piercing the corporate veil arguments at the motion to
dismiss stage because discovery is essential to weigh the merits of these allegations. Orrand v. Kin Contrs., LLC,
No. 2:09CV1129, 2011 U.S. Dist. LEXIS 34303, at *11 (S.D. Ohio Mar. 29, 2011).


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Star controlled those entities. (Id. at ¶ 43, PageID 1555.) These allegations, and many more

detailed in the SAC (including that these entities shared officers and headquarters), confirm that

Gold Star so dominated GSC OPP and GSC EB5 that those entities had no separate minds, wills,

or identities of their own.

       Plaintiff’s well-pleaded piercing the corporate veil allegations prevent Gold Star from

using GSC OPP and GSC EB5 as liability shields. Instead, Gold Star, GSC OPP, and GSC EB5

are considered one and the same, and Gold Star will be held accountable for the wrongful acts or

omissions of GSC OPP and/or GSC EB5. See Transition Healthcare Assocs. v. Tri-State Health

Investors, LLC, 306 Fed. Appx. 273, 280 (6th Cir. 2009) (explaining courts can pierce the

corporate veil to treat a parent and its subsidiary as a single entity). Gold Star therefore cannot

avoid liability by contending that only GSC OPP signed an agreement (see Mot. at 6, PageID

1731), or that only GSC OPP owed fiduciary duties to Plaintiff (see id. at 7-8, PageID 1732-33).

Instead, due to Gold Star’s control over GSC EB5 and GSC OPP during relevant times, Gold

Star stands in the shoes of both entities and is liable for Plaintiff’s damages.

       B.      Gold Star is Also Directly Liable for its Conduct.

       Furthermore, Plaintiff has stated claims against Gold Star that do not rely on piercing

GSC OPP and GSC EB5’s corporate veils. Plaintiff’s SAC alleges that Gold Star itself has

engaged in wrongful conduct, and the Sixth Circuit has held that parent companies are liable for

their own wrongful conduct even if a subsidiary is also involved. E.g., Shelton v. Great Western

Sugar Co., 701 F.2d 180 (6th Cir. 1982); Boggs v. Blue Diamond Coal Co., 590 F.2d 655, 663

(6th Cir. 1979) (“The parent [company] should be liable under customary principles of common

law for harm resulting from its own negligent or reckless conduct.”). Plaintiff also alleged that

Gold Star represented that it would accept responsibility for the obligations of both GSC OPP




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and GSC EB5, and this Court has held that parent companies can be liable for their subsidiary’s

unlawful conduct when they are willing to accept responsibility for the subsidiary’s obligations.

Gutter Topper, Ltd. v. Hart & Cooley, Inc., No. 1:04-cv-656, 2005 U.S. Dist. LEXIS 10271, at

*3-4 (S.D. Ohio May 27, 2005). Importantly, “the question whether a parent corporation may be

liable for the acts of its subsidiary is a fact-sensitive issue,” and should not be decided on a

motion to dismiss. See id. at *3.

       Plaintiff’s SAC alleges that Gold Star engaged in wrongful conduct in connection with

GSC. Plaintiff alleges, among other things, that Gold Star created, reviewed, and approved

materials at the heart of Plaintiff’s securities fraud claims (see SAC at ¶ 81, PageID 1561), that

Gold Star failed to contribute $3,000,000 to capitalize GSC as it had promised (see id. at ¶ 101,

PageID 1557), and that Gold Star improperly tried to dissolve GSC and take GSC’s restaurants

(see id. at ¶¶ 136-146, PageID 1568-69). These properly pled allegations form an independent

basis for bringing fraud, breach of fiduciary duty, gross negligence, and breach of contract

claims against Gold Star. See Gutter Topper, 2005 U.S. Dist. LEXIS 10271 at *4-5 (denying

motion to dismiss when complaint alleged that parent and subsidiary companies both committed

tortious conduct). And while Gold Star argues that Plaintiff never alleged Gold Star signed

certain documents (Mot. at 6, PageID 1731), Plaintiff’s SAC did contain such allegations. (SAC

at ¶¶ 35, 49, 59, 109, 114, 155, PageID 1554, 1556, 1557, 1564, 1565, 1571.) These allegations

must be accepted as true at this stage.

       Indeed, Plaintiffs’ allegations concerning Gold Star’s conduct are not based on guesses,

but on documents and testimony previously obtained from Gold Star, Rohrkemper, and others.

Plaintiff isn’t alleging out of thin air that Gold Star acted as GSC’s general partner, for example,

but instead bases such allegations on materials Gold Star created, including one saying:




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                  GSC (though a wholly owned subsidiary, GSC EB-5 ltd. [sic] “The
                  Manager”) will be the general partner of GSC Opportunities,
                  LLP and its role as General Partner will be defined by an
                  operating agreement. The Manager will provide oversight and
                  services to the operating entities, for a fee . . ., similar to the
                  services and oversight provided to GSC Company owned stores.

(Joyce Decl. at 1) (emphasis added.)2 This document outlines the EB-5 project and explains that

“A joint venture (JV) entity (GSC Opportunities, LP) will be formed in which Gold Star Chili,

Inc. (or a wholly owned subsidiary of GSC, Inc. [a term earlier defined in the document as Gold

Star Chili, Inc.]) is a General Partner.” (Id.) And, in case any doubt remained, the document

said for a third time that “GSC, Inc. via its wholly owned subsidiary will be the General Partner

of the Project Owner (GSC Opportunities, LP) with total control of the project.” (Id.) Plaintiff

alleges Gold Star was GSC’s general partner because Gold Star repeatedly said the same thing.

         The SAC also establishes that Gold Star accepted responsibility for obligations of GSC

OPP and GSC EB5, thereby creating another basis for liability. The SAC alleges, for example,

that Gold Star represented that it was personally liable for GSC OPP and GSC EB5’s obligation

to contribute $3,000,000 to GSC. (SAC at ¶ 63, PageID1557). Gold Star also represented that it,

via GSC EB5, would be GSC’s general partner and would have “total control of the” EB-5

project. (SAC at ¶ 41, PageID 1555.) Gold Star additionally signed an Operations Management

Agreement whereby it agreed to assume some of GSC OPP’s responsibilities and agreed to

provide “executive level and strategic oversight” for GSC OPP. (Id. at ¶¶ 51-53, PageID 1556.)

And in materials Gold Star helped create, Gold Star boasted that it would be the backstop for

GSC and GSC OPP, and that “[i]n addition to managing [GSC], as managing member of [GSC

OPP], Gold Star Chili, Inc. will manage and oversee the start up [sic] and stabilization of each”


2
 This document can be considered without converting this to a motion for summary judgment because it is
extensively cited in the SAC, is central to Plaintiff’s claims, and the third page is even excerpted in the SAC. E.g.,
KSR Int’l Co. v. Delphia Auto. Sys., LLC, 523 Fed. App’x. 357, 359 (6th Cir. 2013).


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GSC restaurant. (SAC Ex. 1 at 4, PageID 1612.) Like the parent company in Gutter Topper,

Gold Star cannot avoid liability now when it previously told Plaintiff that it would back GSC,

GSC OPP, and GSC EB5. See 2005 U.S. Dist. LEXIS 10271 at 4-5 (denying parent company’s

motion to dismiss because materials boasted that the subsidiary was backed by the parent).

Gold Star’s Motion should accordingly be denied.

       C.      Count Twelve of the SAC Asks for Rescission of Plaintiff’s GSC Investment.

       Gold Star, seizing on a typo, argues that count twelve of the SAC does not apply to Gold

Star because Gold Star was not involved in any investment with Buffalo Wings & Rings. (Mot.

at 9, PageID 1734.) The SAC and count twelve as a whole, however, show that this count relates

to Plaintiff’s investment in GSC and that Plaintiff wishes to rescind his investment in GSC due to

self-dealing and other inappropriate conduct.    (SAC at Count XII, PageID 1602-03.) Indeed,

Plaintiff only invested in GSC, so he could not try to rescind any other investment. This Court

should not dismiss an otherwise valid claim because of a typo in the count’s title.

       D.      The Statute of Limitations for the Breach of Fiduciary Claim Has Not Run.

       Gold Star incorrectly argues that the discovery rule does not apply to breach of fiduciary

duty claims. (Mot. at 8, PageID 1733.) The Ohio Supreme Court has held that the discovery

rule applies when claims for breach of fiduciary duty are “based on fraud.” Cundall v. U.S.

Bank, 122 Ohio St. 3d 188, 193 (Ohio 2009). Plaintiff’s allegations relating to conduct occurring

in 2013, such as Gold Star’s preparation and dissemination of false offering materials, relate to

fraud and the discovery rule therefore applies. Any portion of Plaintiffs’ breach of fiduciary duty

premised on conduct occurring before November 22, 2013, is accordingly not time-barred.

       E.      The Statute of Limitations for Plaintiff’s Securities Law Claims Did Not Run.

       Plaintiff’s securities fraud claims are subject to a two-year statute of limitations. Norfolk




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Cty. Ret. Sys. v. Cmty. Health Sys., 877 F.3d 687, 693 (6th Cir. 2017).3                           This statute of

limitations does not begin to run until either: (1) Plaintiff actually discovers fraud, or (2) a

reasonably diligent plaintiff would have “discovered the facts constituting the violation.” Merck

& Co. v. Reynolds, 559 U.S. 633, 653 (2010). Importantly, under this second trigger, the statute

of limitations does not begin to run if a plaintiff only suspects fraud, but instead begins to run

when a reasonably diligent plaintiff would have discovered the facts giving rise to the securities

law violation, including defendant’s scienter. Id.; see also Nolfi v. Ohio Ky. Oil Corp., 675 F.3d

538, 547 (6th Cir. 2012). In other words, the statute of limitations begins at the point “a

reasonably diligent plaintiff would have discovered ‘the facts constituting the violation,’” not

when a “reasonable ‘plaintiff would have begun investigating.’” Nolfi, 675 F.3d at 547.

         The statute of limitations is an affirmative defense, and it is Gold Star’s burden to

demonstrate the statute of limitations has run. Campbell v. Grand Trunk W. R.R. Co., 238 F.3d

772, 775 (6th Cir. 2001). Further, if a defendant argues that plaintiff was on inquiry notice at the

motion to dismiss stage, which Gold Star does here, a claim is barred “only when uncontroverted

evidence irrefutably demonstrates when plaintiff discovered or should have discovered” the

violation. In re EveryWare Global, Inc. Securities Litigation, 175 F. Supp. 3d 837, 863 (S.D.

Ohio 2016) (emphasis added). Gold Star accordingly faces a high hurdle to prevail.

         Gold Star fails to clear this hurdle. Gold Star argues that Plaintiff was on inquiry notice

of securities fraud as early as 2013 or 2014 because certain construction and immigration

deadlines were not met. (See Mot. at 12, PageID 1737.)4 Gold Star ignores, however, that these



3
  Ohio also has a two year statute of limitations for securities fraud claims. Hater v. Gradison Div. of McDonald &
Co. Sec., 101 Ohio App. 3d 99, 113 (Ohio Ct. App. 1995). Gold Star’s Motion conflates state and federal securities
law issues, and generally treats the two claims as largely identical. (See Mot. at 16, PageID 1741.) Plaintiff will do
the same here unless otherwise indicated for the Court’s convenience.
4
  Gold Star’s argument that the statute of limitations ran when “changes are alleged to have been made to the
partnership structure” fail because Plaintiff alleged he did not know that these changes were made. (E.g., SAC at ¶¶


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deadlines could have been missed for non-fraudulent reasons (such as construction delays), and

neglects to point out that in In re EveryWare, a case Gold Star cites to, the court used this precise

reasoning to deny a similar motion to dismiss. 175 F. Supp. 3d at 862-63 (rejecting argument that

investors should have known of fraud when a company adjusted financial projections downward

because “there are many reasons why a company might underperform . . . that had nothing to do

with fraud”). Gold Star also ignores allegations in the SAC detailing how Gold Star and the

Chans’ fraud was kept hidden from Plaintiff, including that Plaintiff received false budgets and

other materials as late as August 31, 2017. (SAC at ¶ 215, PageID 1583.)

        Construction projects notoriously can take longer than projected and construction delays

do not show that fraud is afoot. Likewise, an immigrant investor cannot predict when they will

receive approval of the forms needed to obtain a Green Card. An I-526 form, one of the many

forms Plaintiff had to complete5, took on average 15.9 months to process in fiscal year 2016,

18.8 months in 2017, 22.2 months in 2018, 19.8 months in 2019, and about 13.1 months to

process this year (a calculation made before workplaces shut down due to COVID-19).

Historical National Average Processing Time (in Months) for All USCIS Offices for Select

Forms by Fiscal Year, available at https://egov.uscis.gov/processing-times/historic-pt (last

visited June 25, 2020).        Missed construction or immigration deadlines do not “irrefutably

demonstrate” that a reasonable plaintiff should have suspected fraud.

        Further, these deadlines are irrelevant to the core of Plaintiff’s securities law claims

because Plaintiff is not contending Gold Star’s failure to adhere to these deadlines constituted

securities fraud. Plaintiff instead alleges that Gold Star committed securities fraud by, among

other things, misrepresenting the amount of restaurants that would be constructed, the number of

108, 118, PageID 1564, 1565.) Plaintiff also did not know, nor did he have any reason to know, when funds were
released from escrow, meaning the release or failure to release escrow funds cannot be a trigger date.
5
  (See SAC at ¶ 135, PageID 1567.)


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investors in GSC, Gold Star’s contribution to GSC, and GSC’s overall funding. (See SAC at ¶

290, PageID 1594.) Defendants fail to “irrefutably” demonstrate that missed deadlines would

have alerted a reasonably diligent plaintiff to the possibility of Gold Star’s fraud.

         F.       Plaintiff has Stated Plausible Federal Securities Fraud Claims.

         Gold Star’s assertion that Plaintiff did not allege securities fraud with particularity is

similarly unavailing. (See Mot. at 12, PageID 1737.) Gold Star’s Motion never discusses the

elements of a securities fraud claim nor does Gold Star argue why it believes Plaintiff did not

meet these elements. Instead, Gold Star appears to contend that Plaintiff never plead that Gold

Star did anything wrong. (See id. at 13-14, PageID 1738-39.) Gold Star’s argument ignores that

Plaintiff’s SAC alleges a securities law claim against Gold Star in great detail.

         To state a claim for federal securities fraud6, Plaintiff must allege: “(1) a material

misrepresentation or omission by the defendant; (2) scienter; (3) a connection between the

misrepresentation or omission and the purchase and sale of a security; (4) reliance upon the

misrepresentation or omission; (5) economic loss; and (6) loss causation.”7 In re Omnicare, Inc.

Sec. Litig., 769 F.3d 455, 469 (6th Cir. 2014). This Court should analyze the SAC as a whole,

and not individual allegations in isolation, to determine if Plaintiff’s SAC properly alleges a

securities law claim. See id. at 473 (discussing scienter).

         Plaintiff’s SAC pleads all of these elements. Plaintiff alleges among other things that

Gold Star, through its officers (including its chief executive officer), created, reviewed, edited,

6
  Claims for violations of Ohio securities laws do not require proof of the same elements. See, e.g., Stuckey v.
Online Res. Corp., 909 F. Supp. 2d 912, 928 (S.D. Ohio 2012). While Gold Star argues in one sentence that
Plaintiff’s Ohio securities claim “fail for the same reasons” as his federal claim, this cursory argument cannot stand.
Gold Star has not provided this Court with a basis to conclude that Plaintiff failed to allege a plausible state law
claim, nor could it in light of Plaintiff’s detailed SAC, so this claim should not be dismissed.
7
  Gold Star’s Motion cites to Western & Southern Life Ins. Co. v. JPMorgan Chase Bank, N.A., 54 F. Supp. 3d 888
(S.D. Ohio 2014) to try and argue that federal securities fraud claims also require pleading and proof of an “intent to
mislead or deceive.” (Mot. at 15, PageID 1740). The portion of Western & Southern that Gold Star cites to,
however, discusses Ohio common law fraud and Ohio securities law claims, not federal securities claims.
Regardless, Plaintiff alleged Gold Star acted with scienter and Gold Star intended to deceive him, as argued supra.


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and approved GSC’s Business Plan (SAC at ¶ 73, PageID 1559), Partnership Agreement (id. at ¶

81, PageID 1561), and private placement memorandum (id. at ¶ 36, PageID 1554). The SAC

then highlights in a section titled “Plaintiff’s Investment was Solicited Based on False and

Misleading Materials” specific representations made in these documents and why these

representations were false. (SAC at ¶¶ 67-124, PageID 1558-1566.) The SAC likewise alleges

that Gold Star knew these representations were false and, as evidence of Gold Star’s scienter,

pointed to modifications made to certain documents shortly after Plaintiff signed GSC’s

Partnership Agreement along with statements made by Gold Star officers and its attorney. (See

id.) The SAC then alleges that Plaintiff relied on these misrepresentations and would not have

invested in GSC but for these misrepresentations. (Id. at ¶ 293, PageID 1594.) And the SAC

alleges Gold Star caused Plaintiff’s harm. (E.g., id. at ¶ 295, PageID 1594.) Plaintiff properly

alleges federal securities fraud and Gold Star’s argument to the contrary should be rejected.

       G.      Plaintiff’s Investment is a Security.

       Gold Star’s Motion next argues that Plaintiff’s investment in GSC was not a security.

(Mot. at 16, PageID 1741.) Limited partnership interests, however, are securities. See Mayer v.

Oil Field Systems Corp., 721 F.2d 59, 65 (2d Cir. 1983); Sorenson v. Tenura, 62 Ohio App. 3d

696, 702 (Ohio Ct. App. 1989) (holding that a limited partnership interest was a security under

Ohio law). So too are EB-5 investments. See SEC v. Feng, No. 15-cv-09420, 2017 U.S. Dist.

LEXIS 103592, *11-16 (C.D. Cal. June 29, 2017); SEC v. Kameli, No. 17 C 4686, 2017 U.S.

Dist. LEXIS 142842, *15 n.9 (N.D. Ill. Sep. 5, 2017); Farhad Dastranj v. Mehdi Deghgan, No.

PX 15-2436, 2017 U.S. Dist. LEXIS 131879, *10 (D.Md. Aug. 17, 2017). GSC’s Partnership

Agreement even explicitly references relevant securities laws. (Doc. 110-2 at 30-31, PageID

1717-18.) Gold Star’s argument accordingly fails.




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       H.      Plaintiff’s Losses Are Attributable to Gold Star’s Securities Fraud.

       Gold Star next contends that Plaintiff’s securities fraud claims fail because the SAC does

not tie Gold Star’s fraud to Plaintiff’s loss. (Motion at 17, PageID 1742.) Gold Star cites to no

case law in support of its argument, and essentially contends that its securities violations made

no difference because, at the end of the day, Gary Chan stole Plaintiff’s money. (See id.) This

argument ignores that Plaintiff alleged Gold Star conspired with the Chans (SAC at Count XV,

PageID 1605-06), that Gold Star gave Gary Chan access to Plaintiff’s escrow account (id. at ¶

155, PageID 1570), and that Gold Star breached fiduciary duties when it stopped monitoring

Plaintiff’s escrow account (id. at ¶ 156, PageID 1570). Gold Star also forgets that the SAC

alleges Gold Star promised Plaintiff it would “oversee and control the disbursement of funds.”

(Id. at ¶ 77, PageID 1560.) Ultimately, if a guard agrees to watch a person’s funds, gives a thief

the keys to a safe holding these funds, and then takes a nap while those funds are stolen, the

guard cannot say that they are blameless because they did not actually steal the money. The

guard has liability for breaching the promise they made to watch the person’s funds.

       More critically, Gold Star’s argument ignores Plaintiff’s allegation that he would not

have invested in GSC but for Gold Star’s fraud (SAC at ¶ 293, PageID 1594), and that Plaintiff’s

funds could not have been stolen by Gary Chan had Plaintiff not invested in GSC. Plaintiff has

adequately tied Gold Star’s wrongful conduct to his losses, and his securities claims survive.

       I.      Gold Star Was an Offeror of Securities.

       Gold Star’s contention that it should escape liability because it did not offer securities

similarly fails. (Mot. at 18, PageID 1743.) Ohio law has long recognized that general partners

can be liable under R.C. 1707.41 when they offer securities themselves, or when they act as the

general partner of a partnership making the offer. Baker v. Conlan, 66 Ohio App. 3d 454, 461




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(Ohio Ct. App. 1990). R.C. 1707.41 is to be construed liberally to provide relief to the victims of

fraud, and the statute would be rendered meaningless if a plaintiff’s only avenue of recovery was

from a limited partnership that was defunct (much like GSC here). Id. It is also important to

note that directors of offering entities are also liable under this statute. Id. GSC accordingly can

be found liable under R.C. 1707.41 if a jury determines: (1) Gold Star acted as GSC’s general

partner; (2) Gold Star otherwise stands in GSC OPP’s shoes (such as by piercing GSC OPP’s

corporate veil); (3) Gold Star acted as GSC OPP’s managing member; or, (4) Gold Star

otherwise stands in GSC EB5’s shoes (as GSC EB5 was the managing member, or director, of

GSC OPP). Gold Star’s cursory argument that it did not offer securities is incorrect.

       J.      Gold Star’s Motion Fails to Address Plaintiff’s Entire Ohio Securities Claim.

       Gold Star’s Motion to Dismiss challenges some, but not all, of the grounds supporting

Plaintiff’s Ohio securities law claim, meaning that unchallenged parts of the claim survive.

Plaintiff’s SAC alleges, for example, that Gold Star violated O.R.C. § 1707.06(3), which requires

that parties meet certain registration requirements when selling securities representing an interest

in a limited partnership. (SAC at 58, PageID 1604.) Plaintiff also alleges Gold Star did not

ensure these securities were registered with the Ohio Division of Securities, which is a separate

violation of Ohio securities laws. (Id.) Under Ohio law, “every sale or contract for sale” in

violation of these provisions “is voidable by the election of the purchaser,” and every person that

participated in or aided the seller of these securities is jointly and severable liable to Plaintiff

“for the full amount paid” and all taxable court costs. O.R.C. § 1707.43(A). Defendants do not

move to dismiss Plaintiff’s Ohio securities law claim based on these statutory violations, and

therefore this claim should not be dismissed.




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        K.       Plaintiff’s Conspiracy Claim Should Not be Dismissed.

        Gold Star’s Motion concludes with its argument that Plaintiff’s conspiracy claims should

be dismissed because: (1) there was no agreement or plan between Gold Star and the Chans; (2)

there was no underlying tort; (3) the statute of limitations for the underlying tort claims ran; and,

(4) there can be no conversion because Plaintiff’s funds are not specific or traceable. (Mot. at

18-20, PageID 1743-45.) Each of these arguments is wrong.

        First, Plaintiff’s SAC alleges that the Chans and Gold Star conspired to, among other

things, commit securities fraud and convert Plaintiff’s funds. (SAC at ¶ 362, PageID 1605.)

Civil conspiracy consists of: (1) a malicious combination; (2) of two or more persons; (3) injury

to person or property; and, (4) existence of an unlawful act independent from the conspiracy.

Lee v. Countrywide Home Loans, Inc., 692 F.3d 442, 446 (6th Cir. 2012).8 A plaintiff “need not

demonstrate an explicit agreement but only an understanding or common design between the

parties to commit an improper act.” Id. Here, Plaintiff alleged that Gold Star and the Chans

combined to commit securities fraud. (SAC at ¶ 361, PageID 1605.) Plaintiff also alleged both

sides of this conspiracy actively and knowingly prepared, edited, and approved materials

containing materially false information. (E.g., id. at ¶¶ 36-37, PageID 1554.) This shows Gold

Star’s agreement to join the conspiracy and active participation in the conspiracy, and is

sufficient to state a conspiracy claim under Ohio law.

        Second, Plaintiff has alleged that Gold Star conspired to commit fraud, securities fraud,

breach fiduciary duties, and convert Plaintiff’s funds, torts that can support a conspiracy claim.

See Grubbs v. Sheakley Group, Inc., No. 1:13-cv-246, 2014 U.S. Dist. LEXIS 6536, at *36-37


8
 Gold Star’s citation to State v. Perkins, 2004-Ohio-4915 (Ohio Ct. App. Sep. 16, 2004), has no relevance here.
(See Mot. at 18, PageID 1743.) Perkins involved criminal conspiracy and, more importantly, the portion of Perkins
quoted in Gold Star’s Motion came from proposed jury instructions that the court rejected. Perkins, 2004-Ohio-
4915, at ¶¶ 48-50.


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(S.D. Ohio Jan. 17, 2014) (conspiracy to commit fraud); De Boer Structures (U.S.A.) v. Shaffer

Tent & Awning Co., 233 F. Supp. 2d 934, 945-46 (S.D. Ohio 2002) (conspiracy to breach

fiduciary duties). Plaintiff’s conspiracy claim is therefore supported by underlying torts.

       Third, the statute of limitations for the conspiracy claim has not run because the statute of

limitations for the underlying tort claims have not run. Gold Star never moved to dismiss

Plaintiff’s conversion or fiduciary duty claims on statute of limitations grounds, and the statute

of limitations has not expired on Plaintiff’s fraud or securities fraud claims as discussed supra.

       Fourth, Plaintiff’s conversion claims survives because Plaintiff’s funds were earmarked

and are traceable. Gold Star relies on Dice v. White Family Cos., 173 Ohio App. 3d 472 (Ohio

Ct. App. 2007), to try and argue that Plaintiff’s conversion claim does not survive because, Gold

Star contends, Plaintiff’s investment “has long since lost the point of traceability.” (Mot. at 20,

PageID 1745.) Gold Star’s incorrect guess about the traceability of these funds is contradicted

by the SAC, which exhaustively traces fund transfers. (See SAC at ¶¶ 161-178, PageID 1571-

75.) Regardless, determining the traceability of Plaintiff’s funds touches on matters outside of

the SAC and will require a jury to weigh evidence; matters beyond the scope of a motion to

dismiss. Gold Star’s argument, like all of its other arguments, should be rejected.

III.   CONCLUSION

       Gold Star’s Motion should be denied because Plaintiff’s SAC states valid claims against

Gold Star. As is demonstrated above and in Plaintiff’s SAC, Gold Star was instrumental in

forming GSC and GSC OPP, actively controlled both entities until at least November 2016, and

even tried to dissolve both entities in 2015. Despite this, Gold Star now wishes to avoid the

consequences of its own actions. This Court should deny Gold Star’s Motion because Plaintiff’s

SAC unequivocally states claims against Gold Star.




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                                           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing has been served by ECF filing, if available,

or by regular U.S. mail on June 25, 2020 upon the following:

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Lumen Point Capital Fund I, LLC                     Mason Hill, LLC
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